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        Case 8:04-cr-00475-JSM-E_J Document 216 Filed 06/03/05 Page 2 of 6 PageID 380
A0 245B (Rev 12/03) Sheet 2 - Iniprisonmcnt
Defendant:      RIGOBERTO MONTENEGRO PERLAZA                                                     Judgment
                                                                                                    -     - Page 1of &
Case No.:       8:04-cr-475-T-30hlSS



        A f t e r considering t h e a d v i s o r y sentencing guidelines a n d all of t h e factors identifled i n 'I'itlc 18 U.S.C.
SS 3553(a)(l)-(7),the court Iilitls that the scnte~iceiriiposed is sufficient, Imt not greater than necessary. to comply with
the statutory purposes of sentencing.


         The defendant is hereby comnlitted to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE HUIV1)KEI) and THIRTY-FIVE (135) AIONTHS as to Counts One and Two of the
Inclictnient; all such terms to run concurrently.




X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Thrce
Rivers (Texas).


-
X Thr defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrendcr to the United States Marshal for this district.
         -at -a.m.lp.rn. on -.
         -as notified by the United States Marshal.

-Thc defendant shall surrender for service of sentence at the institutior~designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.



                                                                   RETURN

          I have executed this judgment as follows:




          Defendanr delivered on                                                 to                                         ;I 1


                                                                        , with a certified copy of this judgment.



                                                                                        United States Marshal
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A 0 245B (Rev. 12103) Sheet 3 - Superv~sedRelease

Defendant:           RIGOBERTO MONTENEGRO PERLAZA                                                      Judg~nent- Page 3of 6
Case No.:            8:04-cr-475-T-30MSS
                                                           SUPERVISED RELEASE

            U p o n release f'ron~i m p r i m m e n t , t h e defendant shall be o n supervised rclcase Sol- a t e r m of' FIVE (5) Y E A R S a s t o
C o u n t s O n e a n d 'Two of the I n d i c t a w l t ; all s u c h t e r m s t o r u n concurrently.

           T h e defendant shall report to the probation office in the district to which the defendant is rcleascd within 72 hours o f release
f r o m the custody of the Bureau of Prisons.

T h e defend'mt shall not commit another federal, state, or local crime.
T h e defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use o f a controlled
substance. The defendant shall submit to one drug rest wirhin 15 days of release frotn imprisonment and at least two periodic d r u g tests
thereafter, as determined by the court.


          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

           If this judgment imposes a fine o r a restitution it is a condition of supervised release that thc defendant pay in accordance with
           the Schedule of Payments sheet of this judgment.

           The defendant shall comply with the standard conditions that have been adopted by this c o u n as well as with any additional
           conditions on the attached page.

                                             STAIVDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation ollicer:

           the defendant shall report to the probation officer and shall submit a truthful and co~nplctcwritten rcport within the first tive days of each
           month:

           the defcndant shall answer truthfully all inquiries by the probation ofticer and follow the instructions ofthe probation oflicer;

           the defendant shall support his or her dependents and meet other family responsibilities;

           the defendant shall \cork regularly at a Ia\\ful occupation, unless excused by the probation officer for schooling, training. or orher
           acceptable reasons:

           the defcndant shall notify the probation ollicer at least ten days prior to any change in residence or employment;

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use. distribute. or adniinister any controlled
           substance or any par:~phernaliarclatcd to any controlled substances. csccpt as prescribed by a physician;

           the defendant shall not frequenl placcs here controlled substances are illegally sold. used, distributed, or administered:

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony. unless granted permission to do so by the probation officer.

           thc defendant shall permit a probation officer to visit him or her at any time at home or elsewhcrc and shall permit confiscation of any
           contrabnnd obscned in plain view of the probation oixcer;

           the defendant shall notify the probation officer ~vithinseventy-hvo hours of being arrested or questioned by a law enforcement officer:

           the defendant shdl not enter into any agreement to act as an iniorrner or a special agcnl of a Ian cnSorccnient agencj      ithout the
           permission ofthc court;

           as directed by thc probation officer. the defendant shall notifi third parties of risks that may I>coccasioned by rhc ddendant's criminal record
           or personal hibtor)' or charxteristics and shall permil the probation otficer to niahe such no~ilic;~tions       and to confirm the defendant's
           compliance 1%itli such notification requirument.
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A 0 2J5B (Rev. 12/03) Sheel 3C - Supenf~udRelease

Defendanr:          RIGOBERTO MONTENEGRO PERLAZA                                               Judgrnenl - Pagc 4 of 6
Case No. :          S:M-cr-475-T-30MSS
                                            SPECIAL CONDITIONS OF SUPERVISION

          The defcndant shall also conlply with thc following addirional conditions of supervised release:


-
X         If the defendant be deported, heishe shall not be allowed to re-enter the United States withour the express permission of the
          appropriate governmental authority.

-
X         The mandatory drug testing provisions shall apply pursuant to h e Violent Crime Control Act. Based on the probation officer's
          determination that additional drug urinalysis is necessary, the Court authorizes rnndom drug testing not to exceed 104 tests
          per year.
         Case 8:04-cr-00475-JSM-E_J Document 216 Filed 06/03/05 Page 5 of 6 PageID 383
 A 0 2458 (Rcv 12/03) Sheer 5 - Criminal 3lonerary I'snal~ies

 Defendant:            RIGOBERTO MONTENEGRO PERLAZA                                               . Judgn~ent- Page 5 of 6
 Case No.:             8:01-cr-475-T-30hISS

                                                  CRIhILUAL hIONETAKY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of paymcnts on Sheet 6.
                                 Assessment                                 -
                                                                            Fine                    'I'otul Restitution

           Totals:


           The detcrn~inationof restitution is deferred until -.                   An Amended Jirdgment it1 a Crirninal Case ( A 0 245C) will
           be entered after such determination.
           The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the dcfendnnt makes a p a r h l payment, each payee shall receive an approxin~atelyproportioned payment, unless
           specified otherwise in the priority order or ercenta e payment column below. However, pursuant to 18 U.S.C. 5
                                                                 B           i
           3664(i), all nonfederal victims must be pai before e United States.
                                                                                                                      Priorit. Order o r
                                                          "Total                      A111ount of                     Percentage of
                                                       Arnollrlt of h s s          Uestitution Orclcred               Pi~vrnent




                                 Totals:              -
                                                      S                            S

 -          Restitution amount ordered pursuant to plea agreement S
 -         The defendant shall ay interest on any fine or restitution of more than S2.500, unless the restitution or fine is paid in full
                                   l
           before the fifteenth ay after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(g).
 -         The court determined that the defendant does not have rhe ability to pay interest and it is ordered that:

          -          the interest requirement is waived for the - fine             - restitution.
          -          the interest requirement for the - fine            - restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A. 1 10, 110A, and 1 13A of Title 18 for the offenses conlmitted
on or after September 13, 1991, but before April 23. 1996.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments
Defendant:         RIGOBER'TO MONTENEGRO PERLAZA                                             Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYRIENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

A.       X        Lump sum payment of $ 200.00 due immzdiately. balance due
                            -not later than                    , Or

                            -in accordance - C.                  D. - E or - F below: or
B.       -        Payment to begin immediately (may be combined with -C . -D. or -F below): or
C.       -        Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $             over a
                  period of          (e.g., months or years). to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment: or
D.       -        Payment in equal                (e.g., weekly, monthly. quarterly) installnlents of $              over a
                  period of
                               . (e.g.. months or years) to conunence                    (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision: or
E.       -        Payment during the term of supervised release will commence within                         (e.g.. 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud ent imposes a period of in7 risonment. payment of criminal
        ?i                              F                             Y'
Federal ureau of Prisons' Inmate inancial Responsibil~tyProgram. are made to the clerk o e court.           PX
moneta penalties is due during in1 risonment. All crimina monetary penalties. except t ose a ments made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount, and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interesr in the following property to the United States:
The Courr orders that the defendant forfeit to the United States immediately and voluntaril an and all assets and property,
                                                                                                     i2
or portions thereof, subject to forfeiture, which are in the possession or control of t e efendant or the defendant's
nominees.



Payments shall he :~ppliedin thc following ortlcr: ( 1 ) assessment. (2) restitution princip:~l,(3) restitution interest. (4) finc pr~ncipal,
(5) cornmunit) restitution, (6) fine interesr ( 7 ) penalties. and (8) cosrs. including cost of prosecution and court cosls.
